         IN THE U.S. DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                         TENNESSEE AT NASHVILLE


CHRISTOPHER SOREY, et al.,                §
                                          §
         Plaintiffs,                      §
                                          §
v.                                        §         Case No. 3:23-cv-00181
                                          §
WILSON COUNTY BOOK REVIEW                 §
COMMITTEE, a/k/a WILSON                   §
COUNTY DISTRICT BOOK                      §
APPEAL COMMITTEE, et al.,                 §
                                          §
         Defendants.                      §


              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


         Come now the Plaintiffs, through counsel, and pursuant to Fed. R. Civ. P. 65(a),

respectfully move this Court to issue a preliminary injunction:

         1.     Ordering the Book Review Committee to publish adequate public notice of

its meetings in advance of them; and

         2.     Forbidding the Book Review Committee from meeting without publishing

adequate public notice; and

         3.     Ordering the Book Review Committee to keep adequate meeting minutes

that include a record of all persons present.

         As grounds for this motion, the Plaintiffs have filed an accompanying

Memorandum of Law.          The Defendants have also been consulted regarding their

opposition to this motion, and this motion is opposed.




                                              -1-

     Case 3:23-cv-00181    Document 38        Filed 08/18/23   Page 1 of 3 PageID #: 773
                                         Respectfully submitted,

                                         By:   /s/ Daniel A. Horwitz_________
                                               DANIEL A. HORWITZ, BPR #032176
                                               LINDSAY SMITH, BPR #035937
                                               MELISSA K. DIX, BPR #038535
                                               HORWITZ LAW, PLLC
                                               4016 WESTLAWN DR.
                                               NASHVILLE, TN 37209
                                               daniel@horwitz.law
                                               lindsay@horwitz.law
                                               melissa@horwitz.law
                                               (615) 739-2888
                                               Counsel for Plaintiff




                                   -2-

Case 3:23-cv-00181   Document 38   Filed 08/18/23    Page 2 of 3 PageID #: 774
                            CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of August, 2023, a copy of the foregoing was
mailed via USPS mail, postage prepaid and/or transmitted via the Court’s e-filing system,
to:

      Michael R. Jennings
      Attorney at Law
      326 North Cumberland Street
      Lebanon, TN 37087
      Phone: (615) 444-0585
      Fax: (615) 449-8239
      mjenningslaw@aol.com

      Christopher C. Hayden (#028220)
      Attorney for Defendants
      P.O. Box 10547
      Jackson, Tennessee 38308
      (731) 300-0737
      chris@schofcounsel.com


                                         By:     /s/ Daniel A. Horwitz________
                                                 Daniel A. Horwitz, BPR #032176




                                           -3-

  Case 3:23-cv-00181     Document 38      Filed 08/18/23    Page 3 of 3 PageID #: 775
